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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                       (at Pikeville)

  UNITED STATES OF AMERICA,                        )
                                                   )
            Plaintiff,                             )         Criminal Action No. 7: 24-014-DCR
                                                   )
  V.                                               )
                                                   )
  CHRISTOPHER SPRINGFIELD,                         )          PRELIMINARY JUDGMENT
                                                   )              OF FORFEITURE
        Defendant.                                 )

                                       ***   ***       ***     ***

       The United States has moved for entry of a Preliminary Judgment of Forfeiture based

on the Indictment and Plea Agreement with Defendant Christopher Springfield. [Record No.

27] Being sufficiently advised, it is hereby

       ORDERED and ADJUDGED as follows:

       1.        The United States’ motion [Record No. 27] is GRANTED.

       2.        The following property is subject to forfeiture and the defendant’s interest in the

property is forfeited to the United States pursuant to 21 U.S.C. § 853.

       CURRENCY
       $18,537.00 in United States Currency

       FIREARM AND AMMUNITION
       Hi-Point Firearm, 9 mm Luger, model C9, semi-automatic handgun, with serial number
       P1769604

       3.        Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Judgment of Forfeiture will become final regarding Defendant Springfield at the

time of sentencing and made part of the sentence and included in the judgment.



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       4.      An agency of the United States is directed to forthwith seize the above-described

property and maintain custody of it pursuant to 21 U.S.C. § 853 and all other relevant laws and

regulations until further orders of the Court.

       5.      The United States is directed to provide notice to all persons who may have an

interest in the above-described property pursuant to Rule 32.2(b)(6) of the Federal Rules of

Criminal Procedure. It is authorized to conduct appropriate discovery and any necessary

ancillary proceedings regarding the rights of third parties pursuant to 21 U.S.C. § 853(n) and

Rule 32.2(c) of the Federal Rules of Criminal Procedure.

       6.      The Court retains jurisdiction over this matter for the purpose of enforcing this

Preliminary Judgment of Forfeiture.

       7.      The Clerk of the Court is directed to deliver copies of this Preliminary Judgment

of Forfeiture to all counsel of record and to the United States Probation Office.

       Dated: November 19, 2024.




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